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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF OKLAHOMA

INSTITUTE FOR JUSTICE,                      )
                                            )
                    Plaintiff,              )
                                            )
v.                                          )          Case No. CIV-18-934-D
                                            )
JOHN HAWKINS, Chairman of the Oklahoma )
Ethics Commission; KAREN LONG, Vice-        )
Chairman of the Oklahoma Ethics Commission; )
HOLLY EASTERLING, Commissioner of the )
Oklahoma Ethics Commission; CHARLIE         )
LASTER, Commissioner of the Oklahoma        )
Ethics Commission; CATHY STOCKER,           )
Commissioner of the Oklahoma Ethics         )
Commission; ASHLEY KEMP, Executive          )
Director of the Oklahoma Ethics Commission, )
                                            )
                    Defendants.             )

 MOTION FOR LEAVE TO WITHDRAW AS ATTORNEY FOR DEFENDANTS
      COME NOW the Defendants, John Hawkins, Karen Long, Holly Easterling,

Charlie Laster, Cathy Stocker, and Ashley Kemp, through their attorney of record,

request permission for Janis W. Preslar (“Preslar”) to withdraw as Defendants’ attorney

of record in the above-captioned case. In support, Defendants state as follows:

   1. Preslar is currently employed as General Counsel of the Oklahoma Ethics

      Commission and entered her appearance in this case on October 16, 2018 [Dkt.

      No. 20].

   2. Preslar is leaving employment of the Oklahoma Ethics Commission, effective

      June 1, 2019.


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   3. Upon Preslar’s withdrawal, the Oklahoma Ethics Commission will continue to be

      represented by Stephanie N. Black, who entered her appearance in this matter on

      April 9, 2019 [Dkt. 36].

   4. Consequently, withdrawal of Preslar will not result in any delay in this case.

   WHEREFORE, Defendants, John Hawkins, Karen Long, Holly Easterling, Charlie

Laster, Cathy Stocker, and Ashley Kemp, request the Court enter an Order allowing Janis

W. Preslar to withdraw as attorney of record for Defendants in this case. A proposed

order granting the withdrawal will be submitted pursuant to the ECF Policy Manual.

                                         Respectfully submitted,


                                         s/ Janis W. Preslar
                                         ______________________
                                         Janis W. Preslar, OBA No. 12443
                                         Oklahoma Ethics Commission
                                         2300 N. Lincoln Blvd., Room G-27
                                         Oklahoma City, OK 73105
                                         (405) 521-3451
                                         Facsimile: (405) 521-4905
                                         jan.preslar@ethics.ok.gov
                                         ATTORNEY FOR DEFENDANTS




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                             CERTIFICATE OF SERVICE

       I hereby certify that on this 31st day of May, 2019, I filed the attached document

with the Clerk of Court. Based on the records currently on file in this case, the Clerk of

Court will transmit a Notice of Electronic Filing to those registered participants of the

Electronic Case Filing System.




                                           s/ Janis W. Preslar
                                           ______________________




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